     Case 1:19-cr-00022-AW-MAL        Document 50      Filed 09/25/19   Page 1 of 1


          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                      GAINESVILLE DIVISION


UNITED STATES OF AMERICA

v.                                             Case No. 1:19cr22-MW/GRJ-3

FRANK RUSHING,

      Defendant.
                                  /

                    ACCEPTANCE OF PLEA OF GUILTY

      Pursuant to the Report and Recommendation of the United States Magistrate

Judge, ECF No. 48, to which there has been no timely objection, and subject to

this Court’s consideration of the plea agreement pursuant to Fed.R.Crim.P.

11(d)(2), the plea of guilty of the Defendant to Counts One and Ten of the

Superseding Indictment against him is hereby ACCEPTED. All parties shall

appear before this court for sentencing as directed.

     SO ORDERED on September 25, 2019.


                                        s/ MARK E. WALKER
                                        Chief United States District Judge
